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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Maple Management, LLC d/b/a RAE Elevators & Lifts and d/b/a RAE Elevators, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  245 W. Roosevelt Road
                                  Building 11 No. 77
                                  West Chicago, IL 60185
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  DuPage                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.raelifts.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Maple Management, LLC d/b/a RAE Elevators & Lifts and                                        Case number (if known)
          d/b/a RAE Elevators, Inc.
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known

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Debtor   Maple Management, LLC d/b/a RAE Elevators & Lifts and                       Case number (if known)
         d/b/a RAE Elevators, Inc.
         Name




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Debtor   Maple Management, LLC d/b/a RAE Elevators & Lifts and                                     Case number (if known)
         d/b/a RAE Elevators, Inc.
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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Debtor    Maple Management, LLC d/b/a RAE Elevators & Lifts and                                    Case number (if known)
          d/b/a RAE Elevators, Inc.
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      February 17, 2021
                                                  MM / DD / YYYY


                             X   /s/ James Mecha                                                          James Mecha
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X   /s/ Ariel Weissberg                                                       Date February 17, 2021
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Ariel Weissberg 03125591
                                 Printed name

                                 Weissberg and Associates, Ltd.
                                 Firm name

                                 401 S. LaSalle St.
                                 Suite 403
                                 Chicago, IL 60605
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     312-663-0004                  Email address      ariel@weissberglaw.com

                                 03125591 IL
                                 Bar number and State




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                                                                    1120                                                      U.S. Corporation Income Tax Return                                                                                                               OMB No. 1545-0123


                                                                                                                                                                                                                                                                                2019
Form                                                                                             For calendar year 2019 or tax year beginning                                                          , 2019, ending                                     , 20
Department of the Treasury
Internal Revenue Service                                                                                          a   Go to www.irs.gov/Form1120 for instructions and the latest information.
A Check if:                                                                                                  Name                                                                                                                                     B Employer identification number
1a Consolidated return
   (attach Form 851)     .                                                                                   RAE Lifts, Inc.
                                                                                              TYPE
 b Life/nonlife consoli-                                                                                     Number, street, and room or suite no. If a P.O. box, see instructions.                                                                   C Date incorporated
   dated return .    .   .                                                                    OR
2 Personal holding co.                                                                        PRINT          245 West Roosevelt Road, Bldg. 11, Suite 77                                                                                              01/01/2015
   (attach Sch. PH) .    .                                                                                   City or town, state or province, country, and ZIP or foreign postal code                                                                 D Total assets (see instructions)
3 Personal service corp.
  (see instructions) . .                                                                                     West Chicago                                                                              IL 60185                                                            $          310,453
4 Schedule M-3 attached                                                                        E Check if: (1)                Initial return               (2)           Final return                    (3)           Name change                (4)               Address change
                                                                     1a      Gross receipts or sales .                .   .    .    .   .      .   .   .         .   .     .   .   .       .      .      .     .         1a            1,143,729
                                                                      b      Returns and allowances . . . . . .                                .   .   .         .   .     .   .   .       .      .      .     .         1b                5,464
                                                                      c      Balance. Subtract line 1b from line 1a  .                         .   .   .         .   .     .   .   .       .      .      .     .   .     . .       .    .     .       .     .         1c          1,138,265
                                                                     2       Cost of goods sold (attach Form 1125-A) .                         .   .   .         .   .     .   .   .       .      .      .     .   .     . .       .    .     .       .     .          2            499,403
                                                                     3       Gross profit. Subtract line 2 from line 1c . .                        .   .         .   .     .   .   .       .      .      .     .   .     .     .   .    .     .       .     .          3            638,862
     Income




                                                                     4       Dividends and inclusions (Schedule C, line 23)                        .   .         .   .     .   .   .       .      .      .     .   .     .     .   .    .     .       .     .          4
                                                                     5       Interest   . . . . . . . . . . .                                      .   .         .   .     .   .   .       .      .      .     .   .     .     .   .    .     .       .     .          5
                                                                     6       Gross rents . . . . . . . . . . . . . .                                                       .   .   .       .      .      .     .   .     .     .   .    .     .       .     .          6
                                                                     7       Gross royalties . . . . . . . . . . . . .                                                     .   .   .       .      .      .     .   .     .     .   .    .     .       .     .          7
                                                                     8       Capital gain net income (attach Schedule D (Form 1120)) .                                     .   .   .       .      .      .     .   .     .     .   .    .     .       .     .          8
                                                                     9       Net gain or (loss) from Form 4797, Part II, line 17 (attach Form 4797)   .                                           . . . . .                    .   .    .     .       .     .          9
                                                                    10       Other income (see instructions—attach statement) . Other  . . . Income
                                                                                                                                                . . .                                             . Statement
                                                                                                                                                                                                      . . . .                  .   .    .     .       .     .         10               59,492
                                                                    11       Total income. Add lines 3 through 10 . . . . . . . . . .                                                             . . . . .                    .   .    .     .       .     a         11              698,354
                                                                    12       Compensation of officers (see instructions—attach Form 1125-E)         . .                                           . . . . .                    .   .    .     .       .     a         12              110,323
     Deductions (See instructions for limitations on deductions.)




                                                                    13       Salaries and wages (less employment credits)                          .   .         .   .     .   .   .       .      .      .     .   .     .     .   .    .     .       .     .         13              112,853
                                                                    14       Repairs and maintenance                  .   .    .    .   .      .   .   .         .   .     .   .   .       .      .      .     .   .     .     .   .    .     .       .     .         14               21,674
                                                                    15       Bad debts . . .             .    .       .   .    .    .   .      .   .   .         .   .     .   .   .       .      .      .     .   .     .     .   .    .     .       .     .         15
                                                                    16       Rents . . . .               .    .       .   .    .    .   .      .   .   .         .   .     .   .   .       .      .      .     .   .     .     .   .    .     .       .     .         16               56,264
                                                                    17       Taxes and licenses          .    .       .   .    .    .   .      .   .   .         .   .     .   .   .       .      .      .     .   .     .     .   .    .     .       .     .         17               17,643
                                                                    18       Interest (see instructions) . . . . . . . . . . . . . . . . . . . . . . .                                                                                                .     .         18               28,755
                                                                    19       Charitable contributions . . . . . . . . . . . . . . . . . . . . . . . .                                                                                                 .     .         19
                                                                    20       Depreciation from Form 4562 not claimed on Form 1125-A or elsewhere on return (attach Form 4562) .                                                                       .     .         20                        0
                                                                    21       Depletion . . . . . . . .                              .   .      .   .   .         .   .     .   .   .       .      .      .     .   .     .     .   .    .     .       .     .         21
                                                                    22       Advertising    . . . . . . .                           .   .      .   .   .         .   .     .   .   .       .      .      .     .   .     .     .   .    .     .       .     .         22               18,231
                                                                    23       Pension, profit-sharing, etc., plans                   .   .      .   .   .         .   .     .   .   .       .      .      .     .   .     .     .   .    .     .       .     .         23              101,812
                                                                    24       Employee benefit programs      . .                     .    . . .          . . . . . . . . . . .                                            .     .   .    .     .       .     .         24
                                                                    25       Reserved for future use . . . .                        .    . . .          . . . . . . . . . . .                                            .     .   .    .     .       .     .         25
                                                                    26       Other deductions (attach statement)                    .   Other
                                                                                                                                         . . .         Deductions
                                                                                                                                                        . . . . . .Statement
                                                                                                                                                                     . . . . .                                           .     .   .    .     .       .     .         26              227,709
                                                                    27       Total deductions. Add lines 12 through 26 . . . . . . . . . . . . . . . . . . . a                                                                                                        27              695,264
                                                                    28       Taxable income before net operating loss deduction and special deductions. Subtract line 27 from line 11. .                                                                              28                3,090
                                                                    29a      Net operating loss deduction (see instructions) . . . . . . . . . . .                 29a             3,090
                                                                      b      Special deductions (Schedule C, line 24) . . . . . . . .                                              .       .      .      .     .        29b
                                                                      c      Add lines 29a and 29b . . . . . . . . . . . . .                                                       .       .      .      .     .   .     . .       .    .     .       .     .        29c                3,090
                                                                    30       Taxable income. Subtract line 29c from line 28. See instructions                                      .       .      .      .     .   .     . .       .    .     .       .     .         30                    0
Tax, Refundable Credits, and




                                                                    31       Total tax (Schedule J, Part I, line 11) . . . . . . . . . . . . . . .                                                                       .     .   .    .     .       .     .         31                    0
                                                                    32       2019 net 965 tax liability paid (Schedule J, Part II, line 12) . . . . . . . . .                                                            .     .   .    .     .       .     .         32
         Payments




                                                                    33       Total payments, credits, and section 965 net tax liability (Schedule J, Part III, line 23) .                                                .     .   .    .     .       .     .         33                        0
                                                                    34       Estimated tax penalty. See instructions. Check if Form 2220 is attached       . . . . . . .                                                                .     .   a                   34
                                                                    35       Amount owed. If line 33 is smaller than the total of lines 31, 32, and 34, enter amount owed .                                                             .     .       .     .         35
                                                                    36       Overpayment. If line 33 is larger than the total of lines 31, 32, and 34, enter amount overpaid .                                                          .     .       .     .         36                        0
                                                                    37       Enter amount from line 36 you want: Credited to 2020 estimated tax a                                                                                      Refunded a                     37
                                                                             Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge and belief, it is true, correct,
                                                                             and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.
Sign                                                                                                                                                                                                                                                            May the IRS discuss this return
                                                                                                                                                                                                                                                                with the preparer shown below?
Here
                                                                         F




                                                                                                                                                                                       F




                                                                                                                                                                                           President                                                            See instructions.     Yes       No
                                                                             Signature of officer                                                           Date                               Title
                                                                                 Print/Type preparer’s name                                    Preparer’s signature                                                     Date                                                   PTIN
Paid                                                                                                                                                                                                                                                  Check      if
         Geoff Schlender                                                                                                                                                                                               02/10/2021                     self-employed
Preparer
                     a Lyday & Associates, Ltd.
Use Only Firm’s name                                                                                                                                                                                                                        Firm’s EIN          a

                                                                                 Firm’s address     a   3180 Theodore Street Joliet IL 60435                                                                                                Phone no.           (815)439-2500
For Paperwork Reduction Act Notice, see separate instructions. REV 06/30/20 PRO                                                                                                                                                                                        Form 1120 (2019)
BAA
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Form 1120 (2019)                                                                                                                                                      Page 2
 Schedule C           Dividends, Inclusions, and Special Deductions (see                                         (a) Dividends and
                                                                                                                                             (b) %
                                                                                                                                                        (c) Special deductions
                      instructions)                                                                                  inclusions                                (a) × (b)

  1       Dividends from less-than-20%-owned domestic corporations (other than debt-financed
          stock) . . . . . . . . . . . . . . . . . . . . . . . .                                                                             50
  2       Dividends from 20%-or-more-owned domestic corporations (other than debt-financed
          stock) . . . . . . . . . . . . . . . . . . . . . . . .                                                                             65
                                                                                                                                              see
  3       Dividends on certain debt-financed stock of domestic and foreign corporations                  .   .                           instructions


  4       Dividends on certain preferred stock of less-than-20%-owned public utilities               .   .   .                               23.3

  5       Dividends on certain preferred stock of 20%-or-more-owned public utilities .               .   .   .                               26.7

  6       Dividends from less-than-20%-owned foreign corporations and certain FSCs                   .   .   .                               50

  7       Dividends from 20%-or-more-owned foreign corporations and certain FSCs                     .   .   .                               65

  8       Dividends from wholly owned foreign subsidiaries           .   .   .   .   .   .   .   .   .   .   .                               100
                                                                                                                                              see
  9       Subtotal. Add lines 1 through 8. See instructions for limitations .            .   .   .   .   .   .                           instructions

 10       Dividends from domestic corporations received by a small business investment
          company operating under the Small Business Investment Act of 1958 . . . . .                                                        100

 11       Dividends from affiliated group members .          .   .   .   .   .   .   .   .   .   .   .   .   .                               100

 12       Dividends from certain FSCs        .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .                               100
 13       Foreign-source portion of dividends received from a specified 10%-owned foreign
          corporation (excluding hybrid dividends) (see instructions) . . . . . . . . .                                                      100
 14       Dividends from foreign corporations not included on line 3, 6, 7, 8, 11, 12, or 13
          (including any hybrid dividends) . . . . . . . . . . . . . . . . .
                                                                                                                                              see
 15       Section 965(a) inclusion .     .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .                           instructions

 16a      Subpart F inclusions derived from the sale by a controlled foreign corporation (CFC) of
          the stock of a lower-tier foreign corporation treated as a dividend (attach Form(s) 5471)
          (see instructions) . . . . . . . . . . . . . . . . . . . . .                                                                       100
      b   Subpart F inclusions derived from hybrid dividends of tiered corporations (attach Form(s)
          5471) (see instructions) . . . . . . . . . . . . . . . . . . .
    c     Other inclusions from CFCs under subpart F not included on line 15, 16a, 16b, or 17
          (attach Form(s) 5471) (see instructions) . . . . . . . . . . . . . . .

 17       Global Intangible Low-Taxed Income (GILTI) (attach Form(s) 5471 and Form 8992) .                   .


 18       Gross-up for foreign taxes deemed paid         .   .   .   .   .   .   .   .   .   .   .   .   .   .


 19       IC-DISC and former DISC dividends not included on line 1, 2, or 3              .   .   .   .   .   .


 20       Other dividends    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .


 21       Deduction for dividends paid on certain preferred stock of public utilities            .   .   .   .


 22       Section 250 deduction (attach Form 8993)           .   .   .   .   .   .   .   .   .   .   .   .   .
 23       Total dividends and inclusions. Add column (a), lines 9 through 20. Enter here and on
          page 1, line 4 . . . . . . . . . . . . . . . . . . . . . .
 24       Total special deductions. Add column (c), lines 9 through 22. Enter here and on page 1, line 29b .               .   .     .   .    .    .
                                                                             REV 06/30/20 PRO                                                             Form 1120 (2019)
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Form 1120 (2019)                                                                                                                                                 Page 3
 Schedule J           Tax Computation and Payment (see instructions)
Part I–Tax Computation
  1     Check if the corporation is a member of a controlled group (attach Schedule O (Form 1120)). See instructions a
  2     Income tax. See instructions . . . . . . . . . . . . . . . . . . . . . . . .                                                         .   2                    0
  3     Base erosion minimum tax amount (attach Form 8991) .               .   .   .   .   .   .   .   .   .   .   . .       .   .   .   .   .   3
  4     Add lines 2 and 3 . . . . . . . . . . . .                          .   .   .   .   .   .   .   .   .   .   . .       .   .   .   .   .   4                    0
  5a    Foreign tax credit (attach Form 1118) . . . . . .                  .   .   .   .   .   .   .   .   .       5a
    b   Credit from Form 8834 (see instructions) . . . .               .   .   .   .   .   .   .   .   .   .       5b
    c   General business credit (attach Form 3800) . . .               .   .   .   .   .   .   .   .   .   .       5c
    d   Credit for prior year minimum tax (attach Form 8827)           .   .   .   .   .   .   .   .   .   .       5d
    e   Bond credits from Form 8912 . . .              .   .   .   .   .   .   .   .   .   .   .   .   .   .       5e
  6     Total credits. Add lines 5a through 5e         .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   . .       .   .   .   .   .   6
  7     Subtract line 6 from line 4 . . . .            .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   . .       .   .   .   .   .   7                    0
  8     Personal holding company tax (attach Schedule PH (Form 1120)) .                .   .   .   .   .   .   .   . .       .   .   .   .   .   8
  9a    Recapture of investment credit (attach Form 4255) . . . . .                    .   .   .   .   .   .       9a
    b   Recapture of low-income housing credit (attach Form 8611) . .                  .   .   .   .   .   .       9b
    c   Interest due under the look-back method—completed long-term contracts (attach
        Form 8697) . . . . . . . . . . . . . . . . . . . . . . .                                                   9c
    d   Interest due under the look-back method—income forecast method (attach Form 8866)                          9d
    e   Alternative tax on qualifying shipping activities (attach Form 8902)           .   .   .   .   .   .       9e
    f   Other (see instructions—attach statement)        . . . . . . .                 .   .   .   .   .   .       9f
 10     Total. Add lines 9a through 9f . . . . . . . . . . .                           .   .   .   .   .   .   .   . .       .   .   .   .   .   10
 11     Total tax. Add lines 7, 8, and 10. Enter here and on page 1, line 31 .             .   .   .   .   .   .   .     .   .   .   .   .   .   11                 0
Part II–Section 965 Payments (see instructions)
 12     2019 net 965 tax liability paid from Form 965-B, Part II, column (k), line 3. Enter here and on page 1, line 32                  .   .   12
Part III–Payments, Refundable Credits, and Section 965 Net Tax Liability
 13     2018 overpayment credited to 2019          .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .   .   .   .   .   .   13
 14     2019 estimated tax payments . .            .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .   .   .   .   .   .   14
 15     2019 refund applied for on Form 4466 .         .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .   .   .   .   .   .   15 (                   )
 16     Combine lines 13, 14, and 15 . . .             .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .   .   .   .   .   .   16
 17     Tax deposited with Form 7004 . . .             .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .   .   .   .   .   .   17                 0
 18     Withholding (see instructions) . . . .             .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .   .   .   .   .   .   18
 19     Total payments. Add lines 16, 17, and 18           .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .   .   .   .   .   .   19                 0
 20     Refundable credits from:
    a   Form 2439 . . .        .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .       20a
    b   Form 4136 . . .        .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .       20b
    c   Form 8827, line 5c     .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .       20c
    d   Other (attach statement—see instructions)     . . . . . . . . . . . . .                                    20d
 21     Total credits. Add lines 20a through 20d . . . . . . . . . . . . . .                                   .    . .      .   .   .   .   .   21
 22     2019 net 965 tax liability from Form 965-B, Part I, column (d), line 3. See instructions .             .    . .      .   .   .   .   .   22
 23     Total payments, credits, and section 965 net tax liability. Add lines 19, 21, and 22. Enter here and on page 1,
        line 33 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                  23                 0
                                                                                                                                                        Form 1120 (2019)
                                                                               REV 06/30/20 PRO
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Form 1120 (2019)                                                                                                                                                         Page 4
 Schedule K              Other Information (see instructions)
  1       Check accounting method: a          Cash            b       Accrual        c        Other (specify) a                                                    Yes     No
  2       See the instructions and enter the:
      a   Business activity code no. a
      b   Business activity a Sales
      c   Product or service a Medical           Lifts
  3       Is the corporation a subsidiary in an affiliated group or a parent–subsidiary controlled group?         .   .      .   .   .   .    .   .    .    .
          If “Yes,” enter name and EIN of the parent corporation a


  4       At the end of the tax year:

      a   Did any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust, or tax-exempt
          organization own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of the
          corporation’s stock entitled to vote? If “Yes,” complete Part I of Schedule G (Form 1120) (attach Schedule G) . . . . . .
      b   Did any individual or estate own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all
          classes of the corporation’s stock entitled to vote? If “Yes,” complete Part II of Schedule G (Form 1120) (attach Schedule G) .
  5       At the end of the tax year, did the corporation:
      a   Own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of stock entitled to vote of
          any foreign or domestic corporation not included on Form 851, Affiliations Schedule? For rules of constructive ownership, see instructions.
          If “Yes,” complete (i) through (iv) below.
                                                                                             (ii) Employer                (iii) Country of                 (iv) Percentage
                               (i) Name of Corporation                                   Identification Number                                             Owned in Voting
                                                                                                  (if any)                 Incorporation                        Stock




      b Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in any foreign or domestic partnership
        (including an entity treated as a partnership) or in the beneficial interest of a trust? For rules of constructive ownership, see instructions.
        If “Yes,” complete (i) through (iv) below.
                                                                                             (ii) Employer                (iii) Country of                 (iv) Maximum
                                  (i) Name of Entity                                     Identification Number                                         Percentage Owned in
                                                                                                  (if any)                  Organization               Profit, Loss, or Capital




  6       During this tax year, did the corporation pay dividends (other than stock dividends and distributions in exchange for stock) in
          excess of the corporation’s current and accumulated earnings and profits? See sections 301 and 316 . . . . . . . .
          If “Yes,” file Form 5452, Corporate Report of Nondividend Distributions. See the instructions for Form 5452.
          If this is a consolidated return, answer here for the parent corporation and on Form 851 for each subsidiary.
  7       At any time during the tax year, did one foreign person own, directly or indirectly, at least 25% of the total voting power of all
          classes of the corporation’s stock entitled to vote or at least 25% of the total value of all classes of the corporation’s stock? .
          For rules of attribution, see section 318. If “Yes,” enter:
          (a) Percentage owned a                         and (b) Owner’s country a
          (c) The corporation may have to file Form 5472, Information Return of a 25% Foreign-Owned U.S. Corporation or a Foreign
          Corporation Engaged in a U.S. Trade or Business. Enter the number of Forms 5472 attached a
  8       Check this box if the corporation issued publicly offered debt instruments with original issue discount . . . . . . a
          If checked, the corporation may have to file Form 8281, Information Return for Publicly Offered Original Issue Discount Instruments.
  9       Enter the amount of tax-exempt interest received or accrued during the tax year a $
 10       Enter the number of shareholders at the end of the tax year (if 100 or fewer) a
 11       If the corporation has an NOL for the tax year and is electing to forego the carryback period, check here (see instructions)                 a

          If the corporation is filing a consolidated return, the statement required by Regulations section 1.1502-21(b)(3) must be attached
          or the election will not be valid.
 12       Enter the available NOL carryover from prior tax years (do not reduce it by any deduction reported on
          page 1, line 29a.) . . . . . . . . . . . . . . . . . . . . . . . . . a $                                                                    3,193.
                                                                                REV 06/30/20 PRO                                                           Form   1120 (2019)
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Form 1120 (2019)                                                                                                                                                 Page 5
 Schedule K              Other Information (continued from page 4)
                                                                                                                                                           Yes     No
 13       Are the corporation’s total receipts (page 1, line 1a, plus lines 4 through 10) for the tax year and its total assets at the end of the
          tax year less than $250,000?     . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
          If “Yes,” the corporation is not required to complete Schedules L, M-1, and M-2. Instead, enter the total amount of cash
          distributions and the book value of property distributions (other than cash) made during the tax year a $
 14       Is the corporation required to file Schedule UTP (Form 1120), Uncertain Tax Position Statement? See instructions             .   .   .   .
          If “Yes,” complete and attach Schedule UTP.
 15a      Did the corporation make any payments in 2019 that would require it to file Form(s) 1099?        .   .   .   .   .   .   .   .   .   .   .
   b      If “Yes,” did or will the corporation file required Form(s) 1099? . . . . . . . . .              .   .   .   .   .   .   .   .   .   .   .
 16       During this tax year, did the corporation have an 80%-or-more change in ownership, including a change due to redemption of its
          own stock?      . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 17       During or subsequent to this tax year, but before the filing of this return, did the corporation dispose of more than 65% (by value)
          of its assets in a taxable, non-taxable, or tax deferred transaction? . . . . . . . . . . . . . . . . . .
 18       Did the corporation receive assets in a section 351 transfer in which any of the transferred assets had a fair market basis or fair
          market value of more than $1 million? . . . . . . . . . . . . . . . . . . . . . . . . . . .
 19       During the corporation’s tax year, did the corporation make any payments that would require it to file Forms 1042 and 1042-S
          under chapter 3 (sections 1441 through 1464) or chapter 4 (sections 1471 through 1474) of the Code? . . . . . . . .
 20       Is the corporation operating on a cooperative basis?. . . . . . . . . . . . . . . . . . . . . . .
 21       During the tax year, did the corporation pay or accrue any interest or royalty for which the deduction is not allowed under section
          267A? See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
          If “Yes,” enter the total amount of the disallowed deductions a $
 22       Does the corporation have gross receipts of at least $500 million in any of the 3 preceding tax years? (See sections 59A(e)(2)
          and (3)) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
          If “Yes,” complete and attach Form 8991.
 23       Did the corporation have an election under section 163(j) for any real property trade or business or any farming business in effect
          during the tax year? See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . .
 24       Does the corporation satisfy one or more of the following? See instructions . . . . . . . . . . . . . . . .
    a     The corporation owns a pass-through entity with current, or prior year carryover, excess business interest expense.
    b     The corporation’s aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years preceding the
          current tax year are more than $26 million and the corporation has business interest expense.
      c   The corporation is a tax shelter and the corporation has business interest expense.
          If “Yes,” to any, complete and attach Form 8990.
 25       Is the corporation attaching Form 8996 to certify as a Qualified Opportunity Fund? . . . . . . . . . . . . . .
          If “Yes,” enter amount from Form 8996, line 14 . . . . a $
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                                                                                                                                                   Form   1120 (2019)
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Form 1120 (2019)                                                                                                                                                     Page 6
 Schedule L                Balance Sheets per Books                          Beginning of tax year                                         End of tax year
                                    Assets                               (a)                     (b)                                 (c)                       (d)
  1       Cash     .   .    .   .   .   .   .   .   .   .   .   .                                       12,561.                                               112,028.
  2a      Trade notes and accounts receivable .             .   .       153,416.                                                     198,425.
    b     Less allowance for bad debts . . .                .   .   (                )                153,416.           (                         )          198,425.
  3       Inventories . . . . . . . . .                     .   .                                           0.                                                      0.
  4       U.S. government obligations      . . .            .   .
  5       Tax-exempt securities (see instructions)          .   .
  6       Other current assets (attach statement)           .   .
  7       Loans to shareholders . . . . .                   .   .
  8       Mortgage and real estate loans . . .              .   .
  9       Other investments (attach statement) .            .   .
 10a      Buildings and other depreciable assets            .   .
    b     Less accumulated depreciation . . .               .   .   (                )                                   (                         )
 11a      Depletable assets . . . . . . .                   .   .
    b     Less accumulated depletion . . . .                .   .   (                )                                   (                         )
 12       Land (net of any amortization) . . .              .   .
 13a      Intangible assets (amortizable only)   .          .   .
    b     Less accumulated amortization . . .               .   .   (                )                                   (                         )
 14       Other assets (attach statement) . . .             .   .
 15       Total assets    . . . . . . . .                   .   .                                     165,977.                                                310,453.
              Liabilities and Shareholders’ Equity
 16       Accounts payable . . . . . . . . .
 17       Mortgages, notes, bonds payable in less than 1 year                                         132,469.                                                138,618.
 18       Other current liabilities (attach statement) . .
 19       Loans from shareholders . . . . . . .                                                         35,023.                                               170,260.
 20       Mortgages, notes, bonds payable in 1 year or more
 21       Other liabilities (attach statement) . . . .
 22       Capital stock:     a Preferred stock . . . .
                             b Common stock . . . .
 23       Additional paid-in capital . . . . . . .
 24       Retained earnings—Appropriated (attach statement)
 25       Retained earnings—Unappropriated . . .                                                        -1,515.                                                  1,575.
 26       Adjustments to shareholders’ equity (attach statement)
 27       Less cost of treasury stock . . . . . .                                        (                           )                                 (                  )
 28       Total liabilities and shareholders’ equity . .                     165,977.                                                                         310,453.
Schedule M-1               Reconciliation of Income (Loss) per Books With Income per Return
                           Note: The corporation may be required to file Schedule M-3. See instructions.
  1       Net income (loss) per books .         .   .   .   .   .         3,090.             7      Income recorded on books this year
  2       Federal income tax per books          .   .   .   .   .                                   not included on this return (itemize):
  3       Excess of capital losses over capital gains           .                                   Tax-exempt interest $
  4       Income subject to tax not recorded on books
          this year (itemize):
                                                                                             8     Deductions on this return not charged
  5       Expenses recorded on books this year not                                                 against book income this year (itemize):
          deducted on this return (itemize):                                                     a Depreciation . . $
      a   Depreciation . . . . $                                                                 b Charitable contributions $
      b   Charitable contributions . $
      c   Travel and entertainment . $
                                                                                             9      Add lines 7 and 8 .      .   .     .   .   .
  6       Add lines 1 through 5 .       .   .  3,090. 10 Income (page 1, line 28)—line 6 less line 9
                                                .   .   .   .   .                                                                                                3,090.
Schedule M-2 Analysis of Unappropriated Retained Earnings per Books (Line 25, Schedule L)
 1  Balance at beginning of year  . . . . .   -1,515. 5 Distributions: a Cash . . . . .
 2  Net income (loss) per books . . . . . .    3,090.                  b Stock       . . . .
  3       Other increases (itemize):                                                                             c Property .          .   .   .
                                                                                             6      Other decreases (itemize):
                                                                                             7      Add lines 5 and 6 . . . . . .
  4       Add lines 1, 2, and 3 .       .   .   .   .   .   .   .         1,575.             8      Balance at end of year (line 4 less line 7)                  1,575.
                                                                        REV 06/30/20 PRO                                                                   Form 1120 (2019)
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Form       1125-A                                                      Cost of Goods Sold
(Rev. November 2018)                                                                                                                                             OMB No. 1545-0123
                                                     a Attach to Form 1120, 1120-C, 1120-F, 1120S, or 1065.
Department of the Treasury                          a Go to www.irs.gov/Form1125A for the latest information.
Internal Revenue Service
Name                                                                                                                                                 Employer identification number
RAE Lifts, Inc.
   1       Inventory at beginning of year   .   .     .   .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .           1                             0
   2       Purchases . . . . . .            .   .     .   .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .           2                       462,854
   3       Cost of labor . . . . . . . . . . . . . . . . .                                     .   .   .   .   .   .   .   .     .           3
   4       Additional section 263A costs (attach schedule) . . . . . . .                       .   .   .   .   .   .   .   .     .           4
   5       Other costs (attach schedule) . . . . See    . . Statement
                                                             . . . . . .                       .   .   .   .   .   .   .   .     .           5                        36,549
   6       Total. Add lines 1 through 5 .   .   .     .   .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .           6                       499,403
   7       Inventory at end of year . .     .   .     .   .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .           7                             0
   8       Cost of goods sold. Subtract line 7 from line 6. Enter here and on Form 1120, page 1, line 2 or the
           appropriate line of your tax return. See instructions . . . . . . . . . . . . . . .                                               8                       499,403
   9a      Check all methods used for valuing closing inventory:
            (i)  Cost
            (ii)  Lower of cost or market
           (iii)  Other (Specify method used and attach explanation.) a
    b      Check if there was a writedown of subnormal goods    . . .                  .   .   .   .   .   .   .   .   .   .     .   .   .       .   .   .   .   .    .    a

    c      Check if the LIFO inventory method was adopted this tax year for any goods (if checked, attach Form 970)                              .   .   .   .   .    .    a

    d      If the LIFO inventory method was used for this tax year, enter amount of closing inventory computed
           under LIFO . . . . . . . . . . . . . . . . . . . . . . . . . . .                                              9d
    e      If property is produced or acquired for resale, do the rules of section 263A apply to the entity? See instructions .                          .           Yes       No
       f   Was there any change in determining quantities, cost, or valuations between opening and closing inventory? If “Yes,”
           attach explanation  . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                             Yes       No


Section references are to the Internal                        merchandise is an income-producing                                  Small business taxpayer. A small
Revenue Code unless otherwise noted.                          factor. See Regulations section 1.471-1. If                      business taxpayer is a taxpayer that (a) has
                                                              inventories are required, you generally                          average annual gross receipts of $25
What's New                                                    must use an accrual method of accounting                         million or less (indexed for inflation) for the
Small business taxpayers. For tax years                       for sales and purchases of inventory items.                      3 prior tax years, and (b) is not a tax shelter
beginning after December 31, 2017, the                        Exception for certain taxpayers. A small                         (as defined in section 448(d)(3)). See Pub.
following apply.                                              business taxpayer (defined below), can                           538.
• A small business taxpayer (defined                          adopt or change its accounting method to                         Uniform capitalization rules. The uniform
below), may use a method of accounting for                    account for inventories in the same manner                       capitalization rules of section 263A
inventories that either: (1) treats inventories               as material and supplies that are non-                           generally require you to capitalize, or
as nonincidental materials and supplies, or                   incidental, or conform to its treatment of                       include in inventory, certain costs incurred
(2) conforms to the taxpayer's financial                      inventories in an applicable financial                           in connection with the following.
accounting treatment of inventories.                          statement (as defined in section 451(b)(3)),                     • The production of real property and
• A small business taxpayer is not required                   or if it does not have an applicable financial                   tangible personal property held in inventory
to capitalize costs under section 263A.                       statement, the method of accounting used                         or held for sale in the ordinary course of
                                                              in its books and records prepared in                             business.
General Instructions                                          accordance with its accounting
                                                                                                                               • Real property or personal property
                                                              procedures. See section 471(c)(3).
Purpose of Form                                                                                                                (tangible and intangible) acquired for resale.
                                                                 A small business taxpayer claiming
Use Form 1125-A to calculate and deduct                                                                                        • The production of real property and
                                                              exemption from the requirement to keep
cost of goods sold for certain entities.                                                                                       tangible personal property for use in its
                                                              inventories is changing its method of
                                                                                                                               trade or business or in an activity engaged
Who Must File                                                 accounting for purposes of section 481.
                                                                                                                               in for profit.
                                                              For additional guidance on this method of
Filers of Form 1120, 1120-C, 1120-F,                          accounting, see Pub. 538, Accounting                                A small business taxpayer (defined
1120S, or 1065, must complete and attach                      Periods and Methods. For guidance on                             above) is not required to capitalize costs
Form 1125-A if the applicable entity reports                  changing to this method of accounting, see                       under section 263A. See section 263A(i).
a deduction for cost of goods sold.                           Form 3115 and the Instructions for Form                             See the discussion on section 263A
Inventories                                                   3115.                                                            uniform capitalization rules in the
                                                                                                                               instructions for your tax return before
Generally, inventories are required at the                                                                                     completing Form 1125-A. Also see
beginning and end of each tax year if the                                                                                      Regulations sections 1.263A-1 through
production, purchase, or sale of                                                                                               1.263A-3. See Regulations section
                                                                                                                               1.263A-4 for rules for property produced in
                                                                                                                               a farming business.




For Paperwork Reduction Act Notice, see instructions. BAA                                                                       REV 06/30/20 PRO         Form 1125-A (Rev. 11-2018)
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Form   1125-E                                               Compensation of Officers
(Rev. October 2016)                                                                                                                                      OMB No. 1545-0123
                                            a
                                          Attach to Form 1120, 1120-C, 1120-F, 1120-REIT, 1120-RIC, or 1120S.
Department of the Treasury
                              a Information about Form 1125-E and its separate instructions is at www.irs.gov/form1125e.
Internal Revenue Service
Name                                                                                                                                           Employer identification number
RAE Lifts, Inc.
Note: Complete Form 1125-E only if total receipts are $500,000 or more. See instructions for definition of total receipts.

                                                                (b) Social security number         (c) Percent of        Percent of stock owned             (f) Amount of
                      (a) Name of officer                                                        time devoted to
                                                                     (see instructions)               business       (d) Common        (e) Preferred        compensation



   1 James A. Mecha                                                                                      100 %                    0%             0%             110,323.

                                                                                                                 %                %                %


                                                                                                                 %                %                %


                                                                                                                 %                %                %


                                                                                                                 %                %                %


                                                                                                                 %                %                %


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                                                                                                                 %                %                %


                                                                                                                 %                %                %


                                                                                                                 %                %                %


                                                                                                                 %                %                %


                                                                                                                 %                %                %


                                                                                                                 %                %                %


                                                                                                                 %                %                %

   2     Total compensation of officers .          .    .   .   .   .   .   .   .   .   .    .   .   .   .   .   .   .    .   .    .   .   .      2             110,323.

   3     Compensation of officers claimed on Form 1125-A or elsewhere on return                              .   .   .    .   .    .   .   .      3

   4     Subtract line 3 from line 2. Enter the result here and on Form 1120, page 1, line 12 or the
         appropriate line of your tax return . . . . . . . . . . . . . . . . . . . . . .                                                          4             110,323.
For Paperwork Reduction Act Notice, see separate instructions. BAA                                                            REV 06/30/20 PRO     Form 1125-E (Rev. 10-2016)
                Case 21-02059                Doc 1          Filed 02/17/21 Entered 02/17/21 10:38:11                                                    Desc Main
                                                             Document     Page 19 of 48
Form   8879-C                        IRS e-file Signature Authorization for Form 1120
                                                                                                                                                                  OMB No. 1545-0123




Department of the Treasury
                             For calendar year 2019, or tax year beginning
                                                       a Do
                                                                                                  , 2019, ending
                                                          not send to the IRS. Keep for your records.
                                                                                                                                           , 20
                                                                                                                                                                     2019
Internal Revenue Service                         a Go to www.irs.gov/Form8879C for the latest information.
Name of corporation                                                                                                             Employer identification number
RAE LIFTS, INC.
 Part I Tax Return Information (Whole dollars only)
   1     Total income (Form 1120, line 11) .            .   .   .   .   .    .   .   .   .    .   .   .    .   .   .    .   .    .     .   .      .     .   .    1        698,354.
   2     Taxable income (Form 1120, line 30)            .   .   .   .   .    .   .   .   .    .   .   .    .   .   .    .   .    .     .   .      .     .   .    2              0.
   3     Total tax (Form 1120, line 31) . .             .   .   .   .   .    .   .   .   .    .   .   .    .   .   .    .   .    .     .   .      .     .   .    3              0.
   4     Amount owed (Form 1120, line 35)               .   .   .   .   .    .   .   .   .    .   .   .    .   .   .    .   .    .     .   .      .     .   .    4
   5     Overpayment (Form 1120, line 36) .             .   .   .   .   .    .   .   .   .    .   .   .    .   .   .    .   .    .     .   .      .     .   .    5                0.
 Part II        Declaration and Signature Authorization of Officer. Be sure to get a copy of the corporation’s return.
Under penalties of perjury, I declare that I am an officer of the above corporation and that I have examined a copy of the corporation’s
2019 electronic income tax return and accompanying schedules and statements and to the best of my knowledge and belief, it is
true, correct, and complete. I further declare that the amounts in Part I above are the amounts shown on the copy of the corporation’s
electronic income tax return. I consent to allow my electronic return originator (ERO), transmitter, or intermediate service provider to
send the corporation’s return to the IRS and to receive from the IRS (a) an acknowledgement of receipt or reason for rejection of the
transmission, (b) the reason for any delay in processing the return or refund, and (c) the date of any refund. If applicable, I authorize
the U.S. Treasury and its designated Financial Agent to initiate an electronic funds withdrawal (direct debit) entry to the financial
institution account indicated in the tax preparation software for payment of the corporation’s federal taxes owed on this return, and
the financial institution to debit the entry to this account. To revoke a payment, I must contact the U.S. Treasury Financial Agent at
1-888-353-4537 no later than 2 business days prior to the payment (settlement) date. I also authorize the financial institutions involved
in the processing of the electronic payment of taxes to receive confidential information necessary to answer inquiries and resolve
issues related to the payment. I have selected a personal identification number (PIN) as my signature for the corporation’s electronic
income tax return and, if applicable, the corporation’s consent to electronic funds withdrawal.

Officer’s PIN: check one box only

              I authorize                                                                                 to enter my PIN                                            as my signature
                                                       ERO firm name                                                                 do not enter all zeros
              on the corporation’s 2019 electronically filed income tax return.

              As an officer of the corporation, I will enter my PIN as my signature on the corporation’s 2019 electronically filed income tax
              return.
Officer’s signature a                                                                        Date a                                  Title a   PRESIDENT

Part III        Certification and Authentication

ERO’s EFIN/PIN. Enter your six-digit EFIN followed by your five-digit self-selected PIN.
                                                                                                                                                      do not enter all zeros

I certify that the above numeric entry is my PIN, which is my signature on the 2019 electronically filed income tax return for the
corporation indicated above. I confirm that I am submitting this return in accordance with the requirements of Pub. 3112, IRS e-file
Application and Participation, and Pub. 4163, Modernized e-File (MeF) Information for Authorized IRS e-file Providers for Business
Returns.

ERO’s signature a                                                                                                      Date a    02/10/2021


                                            ERO Must Retain This Form — See Instructions
                                    Do Not Submit This Form to the IRS Unless Requested To Do So

For Paperwork Reduction Act Notice, see instructions.                                                                                                             Form 8879-C (2019)
                                                                             REV 06/30/20 PRO
BAA
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Form   4562                                                Depreciation and Amortization
                                                            (Including Information on Listed Property)
                                                                                                                                                         OMB No. 1545-0172


                                                                                                                                                          2019
                                                                            a Attach
                                                                            to your tax return.
Department of the Treasury                                                                                                                               Attachment
Internal Revenue Service (99)
                                           a Go    to www.irs.gov/Form4562 for instructions and the latest information.                                  Sequence No. 179
Name(s) shown on return                                                     Business or activity to which this form relates                         Identifying number
RAE Lifts, Inc.                                 Form 1120 Sales
 Part I Election To Expense Certain Property Under Section 179
        Note: If you have any listed property, complete Part V before you complete Part I.
   1       Maximum amount (see instructions) . . . . . . . . . . . . . . . . . .                                                . . .      . .       1      1,020,000.
   2       Total cost of section 179 property placed in service (see instructions)       . . . . . .                            . . .      . .       2
   3       Threshold cost of section 179 property before reduction in limitation (see instructions) .                           . . .      . .       3      2,550,000.
   4       Reduction in limitation. Subtract line 3 from line 2. If zero or less, enter -0- . . . . .                           . . .      . .       4
   5       Dollar limitation for tax year. Subtract line 4 from line 1. If zero or less, enter -0-. If                           married   filing
           separately, see instructions . . . . . . . . . . . . . . . . . . . .                                                 . . .      . .       5
   6                       (a) Description of property                                (b) Cost (business use only)             (c) Elected cost




  7 Listed property. Enter the amount from line 29 . . . . . . . . .                   7
  8 Total elected cost of section 179 property. Add amounts in column (c), lines 6 and 7           . . . . . .        8
  9 Tentative deduction. Enter the smaller of line 5 or line 8 . . . . . . . . . . . . . . . .                        9
 10 Carryover of disallowed deduction from line 13 of your 2018 Form 4562 . . . . . . . . . . .                       10
 11 Business income limitation. Enter the smaller of business income (not less than zero) or line 5. See instructions 11
 12 Section 179 expense deduction. Add lines 9 and 10, but don’t enter more than line 11 . . . . . .                  12
 13 Carryover of disallowed deduction to 2020. Add lines 9 and 10, less line 12 a              13
Note: Don’t use Part II or Part III below for listed property. Instead, use Part V.
 Part II Special Depreciation Allowance and Other Depreciation (Don’t include listed property. See instructions.)
 14 Special depreciation allowance for qualified property (other than listed property) placed in service
    during the tax year. See instructions . . . . . . . . . . . . . . . . . . . . . . .                               14
 15 Property subject to section 168(f)(1) election . . . . . . . . . . . . . . . . . . . .                            15
 16 Other depreciation (including ACRS) . . . . . . . . . . . . . . . . . . . . . .                                   16
 Part III MACRS Depreciation (Don’t include listed property. See instructions.)
                                                                  Section A
 17 MACRS deductions for assets placed in service in tax years beginning before 2019 . . . . . . .                    17                                                   0.
 18 If you are electing to group any assets placed in service during the tax year into one or more general
    asset accounts, check here . . . . . . . . . . . . . . . . . . . . . . a
              Section B—Assets Placed in Service During 2019 Tax Year Using the General Depreciation System
                                   (b) Month and year    (c) Basis for depreciation
  (a) Classification of property        placed in         (business/investment use    (d) Recovery     (e) Convention            (f) Method         (g) Depreciation deduction
                                         service           only—see instructions)         period

 19a        3-year property
   b        5-year property
   c        7-year property
   d       10-year property
   e       15-year property
   f       20-year property
   g       25-year property                                     25 yrs.                         S/L
   h       Residential rental                                  27.5 yrs.      MM                S/L
           property                                            27.5 yrs.      MM                S/L
       i   Nonresidential real                                  39 yrs.       MM                S/L
           property                                                           MM                S/L
                   Section C—Assets Placed in Service During 2019 Tax Year Using the Alternative Depreciation System
 20a       Class life                                                                           S/L
   b       12-year                                              12 yrs.                         S/L
   c       30-year                                              30 yrs.       MM                S/L
   d       40-year                                              40 yrs.       MM                S/L
 Part IV Summary (See instructions.)
 21 Listed property. Enter amount from line 28 . . . . . . . . . . . . . . . . . . . .                                                              21
 22 Total. Add amounts from line 12, lines 14 through 17, lines 19 and 20 in column (g), and line 21. Enter
    here and on the appropriate lines of your return. Partnerships and S corporations—see instructions .                                            22                     0.
 23 For assets shown above and placed in service during the current year, enter the
    portion of the basis attributable to section 263A costs . . . . . . . . .          23
For Paperwork Reduction Act Notice, see separate instructions.                                                       REV 06/30/20 PRO                       Form 4562 (2019)
                                                                                      BAA
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                                          Section 1.263(a)-1(f)
                                          GAttach to your income tax return


Name(s) Shown on Return                                                               Identification Number
RAE Lifts, Inc.

Tax Year:           2019
                                       Section 1.263(a)-1(f)
                                  De Minimis Safe Harbor Election

The taxpayer elects to make the de minimis safe harbor election under the Regulation 1.263(a)-1(f)

Name:                        RAE Lifts, Inc.
Address:                     245 West Roosevelt Road, Bldg. 11, Suite 77 , West Chicago IL 60185
Identification Number:       XX-XXXXXXX



fdiv9801.SCR 03/10/20
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  Form 1120, Line 29a              Net Operating Loss Worksheet              2019


Name                                                                                  Employer Identification Number
RAE Lifts, Inc.

                                            Important Information
                                         Tax Cuts and Jobs Act (TCJA)

  For taxable years ending after December 31, 2017, Net Operating Loss (NOL) rules for carrybacks and
  carryforwards have changed under the Tax Cuts and Jobs Act (TCJA). Except for certain farming and
  insurance company (other than life insurance) losses, NOLs can no longer be carried back. NOLs can
  now be carried forward indefinitely.



                                            Important Information
                        Coronavirus Aid, Relief, and Economic Security (CARES) Act

  For taxable years ending after December 31, 2017, Net Operating Loss (NOL) rules for carrybacks
  have changed under the Coronavirus Aid, Relief, and Economic Security (CARES) Act. NOLs can now
  be carried back 5 years.



                         NOL’s under Tax Cuts and Jobs Act of 2017 Smart Worksheet

  A Is the Net Operating Loss from certain farming losses?                                  Yes          No
  B If "Yes" to line A, is the business electing out of the two year carryback?             Yes          No
    QuickZoom to Form 1139



         NOL’s under Coronavirus Aid, Relief, and Economic Security Act of 2020 Smart Worksheet

  A Is the business electing out of the five year carryback for a current year NOL?         Yes          No
    QuickZoom to Election Statement
    QuickZoom to Form 1139

  NOL’s under Tax Cuts and Jobs Act of 2017 : Carryover indefinitely
  NOL’s under Coronavirus Aid, Relief, and Economic Security Act of 2020 : Carryover indefinitely

                        NOL                                       A                   B                   C
                      Carryover                               Carryover              Less             Adjusted
                        Year                                                      Carrybacks          Carryover

2018                                                                3,193.                                  3,193.
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   NOL’s under Taxpayer Relief Act of 1997 : Two year carryback, twenty year carryover
                           NOL                                     A              B               C
                         Carryover                             Carryover        Less          Adjusted
                           Year                                              Carrybacks/      Carryover
                                                                             Carryovers
2017
2016
2015
2014
2013
2012
2011
2010
2009
2008
2007
2006
2005
2004
2003
2002
2001
2000
1999
Totals

   NOL’s prior to Taxpayer Relief Act of 1997: Three year carryback, fifteen year carryover

                           NOL                                     A              B               C
                         Carryover                             Carryover        Less          Adjusted
                           Year                                              Carrybacks/      Carryover
                                                                             Carryovers

2011
2010
2009
2008
2007
2006
2005
2004
Totals
 RAE Lifts, Inc.
                                      Net Operating Loss Summary
 NOL             A                B                 C                D             E              F
 C/O           NOL            Deduction         Adjustment       Remaining     Remaining      Remaining
 Year        Carryover        Allowed in       Under Section     Carryover     Carryover      Carryover
             Available       Current Year        172(b)(2)        20 Years     Indefinite     15 Years*
2018               3,193.            3,090.                                           103.
2017
2016
2015
2014
2013
2012
2011
2010
2009
2008
2007
2006
2005
2004
2003
2002
2001
2000
1999
Totals             3,193.            3,090.                                           103.
Less: Carryover expiring due to 20-year limitation
Less: Carryover expiring due to 15-year limitation
Add: Current year net operating loss
Less: Carryback of current year net operating loss
Net operating loss carryover to next year                                                           103.
cpcw7601.SCR 04/15/20
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RAE Lifts, Inc.                                                                                      1



Additional information from your 2019 Federal Corporation Tax Return

Form 1120: US Corporation Income Tax Return
Other Income                                                                Continuation Statement
                                   Description                                         Amount
Other Income                                                                                    59,492
                                                                           Total                59,492

Form 1120: US Corporation Income Tax Return
Other Deductions                                                            Continuation Statement
                                   Description                                         Amount
Accounting                                                                                       6,350
Automobile and truck expense                                                                    41,501
Bank charges                                                                                     2,565
Cleaning                                                                                         5,190
Computer services and supplies                                                                   4,093
Dues and subscriptions                                                                           2,598
Gifts                                                                                              100
Insurance                                                                                       41,517
Legal and professional                                                                          72,488
Office expense                                                                                  13,938
Permits and fees                                                                                 3,551
Security                                                                                         1,603
Telephone                                                                                        7,839
Utilities                                                                                       11,618
Other Promotional Expense                                                                       11,167
Scavenger                                                                                        1,591
                                                                           Total               227,709

SMART WORKSHEET FOR: Form 1120: US Corporation Income Tax Return
Line 17C                                                                      Itemization Statement
                               Description                                           Amount
FICA                                                                                           17,073.
FUTA                                                                                              263.
SUTA                                                                                              307.
                                                                   Total                       17,643.

Form 1125-A: Cost of Goods Sold
Other Costs Statement                                                       Continuation Statement
                                   Other Cost                                        Other Amount
Commissions                                                                                     30,024
Inspection Fee                                                                                   1,980
Permits                                                                                          1,933
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RAE Lifts, Inc.                                                                                  2

Form 1125-A: Cost of Goods Sold
Other Costs Statement                                                    Continuation Statement
                                   Other Cost                                     Other Amount
Sales Tax Expense                                                                              402
Shipping                                                                                     2,210
                                                                        Total               36,549
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                                        Illinois Department of Revenue

                                          2019 Form IL-1120
                                                                Document Page 26 of 48
                                                                                                                                   *63512191W*
                                          Corporation Income and Replacement Tax Return
                                          See “When should I file?” in the Form IL-1120 instructions for a list of due dates.
  If this return is not for calendar year 2019, enter your fiscal tax year here.                                                                                     Enter the amount you are paying.
  Tax year beginning                    20       , ending                 20
                                                month   day             year                  month        day            year
                             This form is for tax years ending on or after December 31, 2019, and before December 31, 2020.
                             For all other situations, see instructions to determine the correct form to use.                                                                              0.
                                                                                                                                                                     $ _______________________

Step 1: Identify your corporation
                                                                                                                                                 N Enter your federal employer identification number
        A Enter your complete legal business name.                                                                                                 (FEIN).
          If you have a name change, check this box.
          Name: RAE Lifts, Inc.                                                                                                                  O If you are a member of a group filing a federal
        B Enter your mailing address.                                                                                                              consolidated return, enter the FEIN of the parent.
          Check this box if either of the following apply:
          •    this is your first return, or
          •    you have an address change.                                                                                                       P Enter your North American Industry Classification
                                                                                                                                                   System (NAICS) Code. See instructions.
                          C/O:       __________________________________________________
                          Mailing address: 245 West Roosevelt Road, Bldg. 11, Sui
                                            ___________________________________________
                                                                                                                                                 Q Enter your corporate file (charter) number
                          City:      West Chicago                                         State: IL                  ZIP: 60185                    assigned to you by the Secretary of State.
        C If this is the first or final return, check the applicable box(es).
                 First return                                                                                                                    R Enter the city, state, and zip code where your
                 Final return (Enter the date of termination.                                                                  )                   accounting records are kept. (Use the two-letter
                                                                 mm dd yyyy                                                                        postal abbreviation, e.g., IL, GA, etc.)
        D If this is a final return because you sold this business, enter the date sold
                                                                                                                                                    West Chicago, IL 60185
          (mm dd yyyy)                        , and the new owner’s FEIN.
                                                                                                                                                    City                            State    ZIP
                                                                                                                                                 S If you are making the business income election
         E Check the box and see the instructions if your business is a:                                                                            to treat all nonbusiness income as business
               Unitary Filer (Combined return)         Foreign insurer                                                                             income, check this box and enter zero on
                                                                                                                                                   Lines 24 and 32.
          F If you completed the following, check the box and attach the federal
            form(s) to this return.                                                                                                              T Check your method of accounting.
                  Federal Form 8886                      Federal Schedule M-3,                                                                          Cash        Accrual         Other
                                                         Part II, Line 12
                                                                                                                                                 U If you are making a discharge of indebtedness
       G Apportionment Formulas. Mark the appropriate box or boxes and see                                                                         adjustment on Schedules NLD or UB/NLD, or
         Apportionment Formula instructions.    Sales companies                                                                                    Form IL-1120, Line 36, check this box and
             Insurance companies                Financial organizations                                                                            attach federal Form 982.
             Transportation companies           Federally regulated exchanges                                                                    V Check this box if you attached
                                                                                                                                                   Schedule INL.
        H Check this box if you attached Illinois Schedule UB.
                                                                                                                                                 W If you annualized your income on Form IL-2220,
               I Check this box if you attached the Subgroup Schedule.
                                                                                                                                                   check this box and attach Form IL-2220.
           J Check this box if you attached Illinois Schedule 1299-D.
                                                                                                                                                 X Check this box if your business activity is
        K Check this box if you attached Form IL-4562.                                                                                             protected under Public Law 86-272.
          L Check this box if you attached Illinois Schedule M (for businesses).                                                                 Y Check this box if you are a 52/53 week filer.
      M Check this box if you attached Schedule 80/20.
Attach your payment and




                                       If you owe tax on Line 67, complete a payment voucher, Form IL-1120-V. Write your FEIN, tax year ending, and
Form IL-1120-V here.




                                       “IL-1120-V” on your check or money order and make it payable to “Illinois Department of Revenue.” Attach your
                                       voucher and payment here.

                                       Refer to the 2019 IL-1120 Instructions for the address to mail your return.




                                                        This form is authorized as outlined by the Illinois Income Tax Act. Disclosure of this     IR       NS          DR ____
                            IL-1120 (R-12/19)            information is REQUIRED. Failure to provide information could result in a penalty.
                                                                                                                                                                                       Page 1 of 4
                                    ID: 2BNP                                                                  REV 04/03/20 PRO
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                                              Document
                      Illinois Department of Revenue
                        2019 Schedule NLD
                                                       Page 29 of 48
                                                                                                   *33212191W*                                                 Carry year ending


                                                                                                                                                                 12                 19
                        Illinois Net Loss Deduction                                                                                                             Month               Year
                        For Illinois net losses arising in tax years ending on or after December 31, 1986.
                        Attach to your Form IL-1120, IL-1120-ST, IL-1041, IL-1065, or corresponding amended return.                                                         IL Attachment No. 6


RAE Lifts, Inc.
Enter your name as shown on your return.                                                                             Enter your federal employer identiﬁcation number (FEIN).


Step 1: Figure your Illinois net loss deduction (NLD)
•        Read the instructions before completing this schedule.                                 Remember: You may be required to attach supporting
•        “Carry year” is the year to which the loss is being carried.                                                    documentation to this schedule.
•        Enter all amounts as positive ﬁgures.
                                           Loss year        A                                     B                                           C
                                           that expires                          Loss year                                 Loss year
                                           ﬁrst           1 2 2 0 1 8            ending                                    ending
                                                          Month      Year                      Month      Year                           Month          Year

    1    Enter your reported Illinois
         net loss. See instructions.                                3,193
    2a Enter the carry year and the
         amount of Illinois net loss
         previously carried back or
         forward. See instructions. 2a
                                           Month Year Loss carried               Month Year Loss carried                    Month Year Loss carried
                  If you are
         reducing your loss          b
         due to discharge of               Month Year Loss carried               Month Year Loss carried                    Month Year Loss carried
         indebtedness income,
         see instructions.           c
                                           Month Year Loss carried               Month Year Loss carried                    Month Year Loss carried

    2d Add Lines 2a through 2c.
         This is your total amount
         of loss previously carried. 2d
    3    Subtract Line 2d from
         Line 1. This is your
         remaining Illinois net loss.                               3,193
    4    Enter the Illinois base
         income for this carry year.
         See instructions.                                          3,090                                            0                                          0
                                                                                  Enter Line 6 from previous column           Enter Line 6 from previous column
    5    Enter the lesser of Line 3 or
         Line 4. This is your Illinois                                                                                                                                                       3,090
         net loss deduction (NLD).                                  3,090                                            0                                          0
                                                                                                                                                                         Line 5 Total
    6    Subtract Line 5 from Line 4.
         This is your remaining                                                                                                                                          Enter the total of
         income after NLD.                                                  0                                        0                                          0        Columns A, B, and C,
                                                                                                                                                                         Line 5 in this box.
    7    Subtract Line 5 from Line 3.                                                                                                                                    See instructions.
         This is your remaining NLD
         for subsequent years.                                          103                                          0                                          0


Step 2: Identify the loss year company
Complete this part only if the loss shown on Step 1, Line 1, originated from a company other than the one ﬁling this return. Enter the
FEIN of the company, the reason (e.g., merger) you are allowed to use that company’s losses, and the date you acquired the loss.
                    A                                              B                                          C
    8 FEIN:___ ___ - ___ ___ ___ ___ ___ ___ ___ 9 FEIN:___ ___ - ___ ___ ___ ___ ___ ___ ___                                 10 FEIN:___ ___ - ___ ___ ___ ___ ___ ___ ___
        Reason: __________________________                        Reason: __________________________                                Reason: __________________________
        _________________________________                         _________________________________                                 _________________________________
        _________________________________                         _________________________________                                 _________________________________
        Enter the date you                                        Enter the date you                                                Enter the date you
        acquired this loss:                                       acquired this loss:                                               acquired this loss:
                             Month   Day       Year                                     Month     Day         Year                                                  Month    Day            Year



                                                                                                   This form is authorized as outlined by the Illinois Income Tax Act. Disclosure of this
             Schedule NLD Front (R-12/19) ID: 2BNP                          REV 04/03/20 PRO        information is REQUIRED. Failure to provide information could result in a penalty.
                                                                               Case 21-02059                          Doc 1             Filed 02/17/21 Entered 02/17/21 10:38:11                                                                            Desc Main
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                                                                    1120                                                      U.S. Corporation Income Tax Return                                                                                                               OMB No. 1545-0123


                                                                                                                                                                                                                                                                                2019
Form                                                                                             For calendar year 2019 or tax year beginning                                                          , 2019, ending                                     , 20
Department of the Treasury
Internal Revenue Service                                                                                          a   Go to www.irs.gov/Form1120 for instructions and the latest information.
A Check if:                                                                                                  Name                                                                                                                                     B Employer identification number
1a Consolidated return
   (attach Form 851)     .                                                                                   RAE Lifts, Inc.
                                                                                              TYPE
 b Life/nonlife consoli-                                                                                     Number, street, and room or suite no. If a P.O. box, see instructions.                                                                   C Date incorporated
   dated return .    .   .                                                                    OR
2 Personal holding co.                                                                        PRINT          245 West Roosevelt Road, Bldg. 11, Suite 77                                                                                              01/01/2015
   (attach Sch. PH) .    .                                                                                   City or town, state or province, country, and ZIP or foreign postal code                                                                 D Total assets (see instructions)
3 Personal service corp.
  (see instructions) . .                                                                                     West Chicago                                                                              IL 60185                                                            $          310,453
4 Schedule M-3 attached                                                                        E Check if: (1)                Initial return               (2)           Final return                    (3)           Name change                (4)               Address change
                                                                     1a      Gross receipts or sales .                .   .    .    .   .      .   .   .         .   .     .   .   .       .      .      .     .         1a            1,143,729
                                                                      b      Returns and allowances . . . . . .                                .   .   .         .   .     .   .   .       .      .      .     .         1b                5,464
                                                                      c      Balance. Subtract line 1b from line 1a  .                         .   .   .         .   .     .   .   .       .      .      .     .   .     . .       .    .     .       .     .         1c          1,138,265
                                                                     2       Cost of goods sold (attach Form 1125-A) .                         .   .   .         .   .     .   .   .       .      .      .     .   .     . .       .    .     .       .     .          2            499,403
                                                                     3       Gross profit. Subtract line 2 from line 1c . .                        .   .         .   .     .   .   .       .      .      .     .   .     .     .   .    .     .       .     .          3            638,862
     Income




                                                                     4       Dividends and inclusions (Schedule C, line 23)                        .   .         .   .     .   .   .       .      .      .     .   .     .     .   .    .     .       .     .          4
                                                                     5       Interest   . . . . . . . . . . .                                      .   .         .   .     .   .   .       .      .      .     .   .     .     .   .    .     .       .     .          5
                                                                     6       Gross rents . . . . . . . . . . . . . .                                                       .   .   .       .      .      .     .   .     .     .   .    .     .       .     .          6
                                                                     7       Gross royalties . . . . . . . . . . . . .                                                     .   .   .       .      .      .     .   .     .     .   .    .     .       .     .          7
                                                                     8       Capital gain net income (attach Schedule D (Form 1120)) .                                     .   .   .       .      .      .     .   .     .     .   .    .     .       .     .          8
                                                                     9       Net gain or (loss) from Form 4797, Part II, line 17 (attach Form 4797)   .                                           . . . . .                    .   .    .     .       .     .          9
                                                                    10       Other income (see instructions—attach statement) . Other  . . . Income
                                                                                                                                                . . .                                             . Statement
                                                                                                                                                                                                      . . . .                  .   .    .     .       .     .         10               59,492
                                                                    11       Total income. Add lines 3 through 10 . . . . . . . . . .                                                             . . . . .                    .   .    .     .       .     a         11              698,354
                                                                    12       Compensation of officers (see instructions—attach Form 1125-E)         . .                                           . . . . .                    .   .    .     .       .     a         12              110,323
     Deductions (See instructions for limitations on deductions.)




                                                                    13       Salaries and wages (less employment credits)                          .   .         .   .     .   .   .       .      .      .     .   .     .     .   .    .     .       .     .         13              112,853
                                                                    14       Repairs and maintenance                  .   .    .    .   .      .   .   .         .   .     .   .   .       .      .      .     .   .     .     .   .    .     .       .     .         14               21,674
                                                                    15       Bad debts . . .             .    .       .   .    .    .   .      .   .   .         .   .     .   .   .       .      .      .     .   .     .     .   .    .     .       .     .         15
                                                                    16       Rents . . . .               .    .       .   .    .    .   .      .   .   .         .   .     .   .   .       .      .      .     .   .     .     .   .    .     .       .     .         16               56,264
                                                                    17       Taxes and licenses          .    .       .   .    .    .   .      .   .   .         .   .     .   .   .       .      .      .     .   .     .     .   .    .     .       .     .         17               17,643
                                                                    18       Interest (see instructions) . . . . . . . . . . . . . . . . . . . . . . .                                                                                                .     .         18               28,755
                                                                    19       Charitable contributions . . . . . . . . . . . . . . . . . . . . . . . .                                                                                                 .     .         19
                                                                    20       Depreciation from Form 4562 not claimed on Form 1125-A or elsewhere on return (attach Form 4562) .                                                                       .     .         20                        0
                                                                    21       Depletion . . . . . . . .                              .   .      .   .   .         .   .     .   .   .       .      .      .     .   .     .     .   .    .     .       .     .         21
                                                                    22       Advertising    . . . . . . .                           .   .      .   .   .         .   .     .   .   .       .      .      .     .   .     .     .   .    .     .       .     .         22               18,231
                                                                    23       Pension, profit-sharing, etc., plans                   .   .      .   .   .         .   .     .   .   .       .      .      .     .   .     .     .   .    .     .       .     .         23              101,812
                                                                    24       Employee benefit programs      . .                     .    . . .          . . . . . . . . . . .                                            .     .   .    .     .       .     .         24
                                                                    25       Reserved for future use . . . .                        .    . . .          . . . . . . . . . . .                                            .     .   .    .     .       .     .         25
                                                                    26       Other deductions (attach statement)                    .   Other
                                                                                                                                         . . .         Deductions
                                                                                                                                                        . . . . . .Statement
                                                                                                                                                                     . . . . .                                           .     .   .    .     .       .     .         26              227,709
                                                                    27       Total deductions. Add lines 12 through 26 . . . . . . . . . . . . . . . . . . . a                                                                                                        27              695,264
                                                                    28       Taxable income before net operating loss deduction and special deductions. Subtract line 27 from line 11. .                                                                              28                3,090
                                                                    29a      Net operating loss deduction (see instructions) . . . . . . . . . . .                 29a             3,090
                                                                      b      Special deductions (Schedule C, line 24) . . . . . . . .                                              .       .      .      .     .        29b
                                                                      c      Add lines 29a and 29b . . . . . . . . . . . . .                                                       .       .      .      .     .   .     . .       .    .     .       .     .        29c                3,090
                                                                    30       Taxable income. Subtract line 29c from line 28. See instructions                                      .       .      .      .     .   .     . .       .    .     .       .     .         30                    0
Tax, Refundable Credits, and




                                                                    31       Total tax (Schedule J, Part I, line 11) . . . . . . . . . . . . . . .                                                                       .     .   .    .     .       .     .         31                    0
                                                                    32       2019 net 965 tax liability paid (Schedule J, Part II, line 12) . . . . . . . . .                                                            .     .   .    .     .       .     .         32
         Payments




                                                                    33       Total payments, credits, and section 965 net tax liability (Schedule J, Part III, line 23) .                                                .     .   .    .     .       .     .         33                        0
                                                                    34       Estimated tax penalty. See instructions. Check if Form 2220 is attached       . . . . . . .                                                                .     .   a                   34
                                                                    35       Amount owed. If line 33 is smaller than the total of lines 31, 32, and 34, enter amount owed .                                                             .     .       .     .         35
                                                                    36       Overpayment. If line 33 is larger than the total of lines 31, 32, and 34, enter amount overpaid .                                                          .     .       .     .         36                        0
                                                                    37       Enter amount from line 36 you want: Credited to 2020 estimated tax a                                                                                      Refunded a                     37
                                                                             Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge and belief, it is true, correct,
                                                                             and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.
Sign                                                                                                                                                                                                                                                            May the IRS discuss this return
                                                                                                                                                                                                                                                                with the preparer shown below?
Here
                                                                         F




                                                                                                                                                                                       F




                                                                                                                                                                                           President                                                            See instructions.     Yes       No
                                                                             Signature of officer                                                           Date                               Title
                                                                                 Print/Type preparer’s name                                    Preparer’s signature                                                     Date                                                   PTIN
Paid                                                                                                                                                                                                                                                  Check      if
         Geoff Schlender                                                                                                                                                                                               02/10/2021                     self-employed
Preparer
                     a Lyday & Associates, Ltd.
Use Only Firm’s name                                                                                                                                                                                                                        Firm’s EIN          a

                                                                                 Firm’s address     a   3180 Theodore Street Joliet IL 60435                                                                                                Phone no.           (815)439-2500
For Paperwork Reduction Act Notice, see separate instructions. REV 06/30/20 PRO                                                                                                                                                                                        Form 1120 (2019)
BAA
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Form 1120 (2019)                                                                                                                                                      Page 2
 Schedule C           Dividends, Inclusions, and Special Deductions (see                                         (a) Dividends and
                                                                                                                                             (b) %
                                                                                                                                                        (c) Special deductions
                      instructions)                                                                                  inclusions                                (a) × (b)

  1       Dividends from less-than-20%-owned domestic corporations (other than debt-financed
          stock) . . . . . . . . . . . . . . . . . . . . . . . .                                                                             50
  2       Dividends from 20%-or-more-owned domestic corporations (other than debt-financed
          stock) . . . . . . . . . . . . . . . . . . . . . . . .                                                                             65
                                                                                                                                              see
  3       Dividends on certain debt-financed stock of domestic and foreign corporations                  .   .                           instructions


  4       Dividends on certain preferred stock of less-than-20%-owned public utilities               .   .   .                               23.3

  5       Dividends on certain preferred stock of 20%-or-more-owned public utilities .               .   .   .                               26.7

  6       Dividends from less-than-20%-owned foreign corporations and certain FSCs                   .   .   .                               50

  7       Dividends from 20%-or-more-owned foreign corporations and certain FSCs                     .   .   .                               65

  8       Dividends from wholly owned foreign subsidiaries           .   .   .   .   .   .   .   .   .   .   .                               100
                                                                                                                                              see
  9       Subtotal. Add lines 1 through 8. See instructions for limitations .            .   .   .   .   .   .                           instructions

 10       Dividends from domestic corporations received by a small business investment
          company operating under the Small Business Investment Act of 1958 . . . . .                                                        100

 11       Dividends from affiliated group members .          .   .   .   .   .   .   .   .   .   .   .   .   .                               100

 12       Dividends from certain FSCs        .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .                               100
 13       Foreign-source portion of dividends received from a specified 10%-owned foreign
          corporation (excluding hybrid dividends) (see instructions) . . . . . . . . .                                                      100
 14       Dividends from foreign corporations not included on line 3, 6, 7, 8, 11, 12, or 13
          (including any hybrid dividends) . . . . . . . . . . . . . . . . .
                                                                                                                                              see
 15       Section 965(a) inclusion .     .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .                           instructions

 16a      Subpart F inclusions derived from the sale by a controlled foreign corporation (CFC) of
          the stock of a lower-tier foreign corporation treated as a dividend (attach Form(s) 5471)
          (see instructions) . . . . . . . . . . . . . . . . . . . . .                                                                       100
      b   Subpart F inclusions derived from hybrid dividends of tiered corporations (attach Form(s)
          5471) (see instructions) . . . . . . . . . . . . . . . . . . .
    c     Other inclusions from CFCs under subpart F not included on line 15, 16a, 16b, or 17
          (attach Form(s) 5471) (see instructions) . . . . . . . . . . . . . . .

 17       Global Intangible Low-Taxed Income (GILTI) (attach Form(s) 5471 and Form 8992) .                   .


 18       Gross-up for foreign taxes deemed paid         .   .   .   .   .   .   .   .   .   .   .   .   .   .


 19       IC-DISC and former DISC dividends not included on line 1, 2, or 3              .   .   .   .   .   .


 20       Other dividends    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .


 21       Deduction for dividends paid on certain preferred stock of public utilities            .   .   .   .


 22       Section 250 deduction (attach Form 8993)           .   .   .   .   .   .   .   .   .   .   .   .   .
 23       Total dividends and inclusions. Add column (a), lines 9 through 20. Enter here and on
          page 1, line 4 . . . . . . . . . . . . . . . . . . . . . .
 24       Total special deductions. Add column (c), lines 9 through 22. Enter here and on page 1, line 29b .               .   .     .   .    .    .
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Form 1120 (2019)                                                                                                                                                 Page 3
 Schedule J           Tax Computation and Payment (see instructions)
Part I–Tax Computation
  1     Check if the corporation is a member of a controlled group (attach Schedule O (Form 1120)). See instructions a
  2     Income tax. See instructions . . . . . . . . . . . . . . . . . . . . . . . .                                                         .   2                    0
  3     Base erosion minimum tax amount (attach Form 8991) .               .   .   .   .   .   .   .   .   .   .   . .       .   .   .   .   .   3
  4     Add lines 2 and 3 . . . . . . . . . . . .                          .   .   .   .   .   .   .   .   .   .   . .       .   .   .   .   .   4                    0
  5a    Foreign tax credit (attach Form 1118) . . . . . .                  .   .   .   .   .   .   .   .   .       5a
    b   Credit from Form 8834 (see instructions) . . . .               .   .   .   .   .   .   .   .   .   .       5b
    c   General business credit (attach Form 3800) . . .               .   .   .   .   .   .   .   .   .   .       5c
    d   Credit for prior year minimum tax (attach Form 8827)           .   .   .   .   .   .   .   .   .   .       5d
    e   Bond credits from Form 8912 . . .              .   .   .   .   .   .   .   .   .   .   .   .   .   .       5e
  6     Total credits. Add lines 5a through 5e         .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   . .       .   .   .   .   .   6
  7     Subtract line 6 from line 4 . . . .            .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   . .       .   .   .   .   .   7                    0
  8     Personal holding company tax (attach Schedule PH (Form 1120)) .                .   .   .   .   .   .   .   . .       .   .   .   .   .   8
  9a    Recapture of investment credit (attach Form 4255) . . . . .                    .   .   .   .   .   .       9a
    b   Recapture of low-income housing credit (attach Form 8611) . .                  .   .   .   .   .   .       9b
    c   Interest due under the look-back method—completed long-term contracts (attach
        Form 8697) . . . . . . . . . . . . . . . . . . . . . . .                                                   9c
    d   Interest due under the look-back method—income forecast method (attach Form 8866)                          9d
    e   Alternative tax on qualifying shipping activities (attach Form 8902)           .   .   .   .   .   .       9e
    f   Other (see instructions—attach statement)        . . . . . . .                 .   .   .   .   .   .       9f
 10     Total. Add lines 9a through 9f . . . . . . . . . . .                           .   .   .   .   .   .   .   . .       .   .   .   .   .   10
 11     Total tax. Add lines 7, 8, and 10. Enter here and on page 1, line 31 .             .   .   .   .   .   .   .     .   .   .   .   .   .   11                 0
Part II–Section 965 Payments (see instructions)
 12     2019 net 965 tax liability paid from Form 965-B, Part II, column (k), line 3. Enter here and on page 1, line 32                  .   .   12
Part III–Payments, Refundable Credits, and Section 965 Net Tax Liability
 13     2018 overpayment credited to 2019          .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .   .   .   .   .   .   13
 14     2019 estimated tax payments . .            .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .   .   .   .   .   .   14
 15     2019 refund applied for on Form 4466 .         .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .   .   .   .   .   .   15 (                   )
 16     Combine lines 13, 14, and 15 . . .             .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .   .   .   .   .   .   16
 17     Tax deposited with Form 7004 . . .             .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .   .   .   .   .   .   17                 0
 18     Withholding (see instructions) . . . .             .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .   .   .   .   .   .   18
 19     Total payments. Add lines 16, 17, and 18           .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .   .   .   .   .   .   19                 0
 20     Refundable credits from:
    a   Form 2439 . . .        .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .       20a
    b   Form 4136 . . .        .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .       20b
    c   Form 8827, line 5c     .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .       20c
    d   Other (attach statement—see instructions)     . . . . . . . . . . . . .                                    20d
 21     Total credits. Add lines 20a through 20d . . . . . . . . . . . . . .                                   .    . .      .   .   .   .   .   21
 22     2019 net 965 tax liability from Form 965-B, Part I, column (d), line 3. See instructions .             .    . .      .   .   .   .   .   22
 23     Total payments, credits, and section 965 net tax liability. Add lines 19, 21, and 22. Enter here and on page 1,
        line 33 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                  23                 0
                                                                                                                                                        Form 1120 (2019)
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Form 1120 (2019)                                                                                                                                                         Page 4
 Schedule K              Other Information (see instructions)
  1       Check accounting method: a          Cash            b       Accrual        c        Other (specify) a                                                    Yes     No
  2       See the instructions and enter the:
      a   Business activity code no. a
      b   Business activity a Sales
      c   Product or service a Medical           Lifts
  3       Is the corporation a subsidiary in an affiliated group or a parent–subsidiary controlled group?         .   .      .   .   .   .    .   .    .    .
          If “Yes,” enter name and EIN of the parent corporation a


  4       At the end of the tax year:

      a   Did any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust, or tax-exempt
          organization own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of the
          corporation’s stock entitled to vote? If “Yes,” complete Part I of Schedule G (Form 1120) (attach Schedule G) . . . . . .
      b   Did any individual or estate own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all
          classes of the corporation’s stock entitled to vote? If “Yes,” complete Part II of Schedule G (Form 1120) (attach Schedule G) .
  5       At the end of the tax year, did the corporation:
      a   Own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of stock entitled to vote of
          any foreign or domestic corporation not included on Form 851, Affiliations Schedule? For rules of constructive ownership, see instructions.
          If “Yes,” complete (i) through (iv) below.
                                                                                             (ii) Employer                (iii) Country of                 (iv) Percentage
                               (i) Name of Corporation                                   Identification Number                                             Owned in Voting
                                                                                                  (if any)                 Incorporation                        Stock




      b Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in any foreign or domestic partnership
        (including an entity treated as a partnership) or in the beneficial interest of a trust? For rules of constructive ownership, see instructions.
        If “Yes,” complete (i) through (iv) below.
                                                                                             (ii) Employer                (iii) Country of                 (iv) Maximum
                                  (i) Name of Entity                                     Identification Number                                         Percentage Owned in
                                                                                                  (if any)                  Organization               Profit, Loss, or Capital




  6       During this tax year, did the corporation pay dividends (other than stock dividends and distributions in exchange for stock) in
          excess of the corporation’s current and accumulated earnings and profits? See sections 301 and 316 . . . . . . . .
          If “Yes,” file Form 5452, Corporate Report of Nondividend Distributions. See the instructions for Form 5452.
          If this is a consolidated return, answer here for the parent corporation and on Form 851 for each subsidiary.
  7       At any time during the tax year, did one foreign person own, directly or indirectly, at least 25% of the total voting power of all
          classes of the corporation’s stock entitled to vote or at least 25% of the total value of all classes of the corporation’s stock? .
          For rules of attribution, see section 318. If “Yes,” enter:
          (a) Percentage owned a                         and (b) Owner’s country a
          (c) The corporation may have to file Form 5472, Information Return of a 25% Foreign-Owned U.S. Corporation or a Foreign
          Corporation Engaged in a U.S. Trade or Business. Enter the number of Forms 5472 attached a
  8       Check this box if the corporation issued publicly offered debt instruments with original issue discount . . . . . . a
          If checked, the corporation may have to file Form 8281, Information Return for Publicly Offered Original Issue Discount Instruments.
  9       Enter the amount of tax-exempt interest received or accrued during the tax year a $
 10       Enter the number of shareholders at the end of the tax year (if 100 or fewer) a
 11       If the corporation has an NOL for the tax year and is electing to forego the carryback period, check here (see instructions)                 a

          If the corporation is filing a consolidated return, the statement required by Regulations section 1.1502-21(b)(3) must be attached
          or the election will not be valid.
 12       Enter the available NOL carryover from prior tax years (do not reduce it by any deduction reported on
          page 1, line 29a.) . . . . . . . . . . . . . . . . . . . . . . . . . a $                                                                    3,193.
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Form 1120 (2019)                                                                                                                                                 Page 5
 Schedule K              Other Information (continued from page 4)
                                                                                                                                                           Yes     No
 13       Are the corporation’s total receipts (page 1, line 1a, plus lines 4 through 10) for the tax year and its total assets at the end of the
          tax year less than $250,000?     . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
          If “Yes,” the corporation is not required to complete Schedules L, M-1, and M-2. Instead, enter the total amount of cash
          distributions and the book value of property distributions (other than cash) made during the tax year a $
 14       Is the corporation required to file Schedule UTP (Form 1120), Uncertain Tax Position Statement? See instructions             .   .   .   .
          If “Yes,” complete and attach Schedule UTP.
 15a      Did the corporation make any payments in 2019 that would require it to file Form(s) 1099?        .   .   .   .   .   .   .   .   .   .   .
   b      If “Yes,” did or will the corporation file required Form(s) 1099? . . . . . . . . .              .   .   .   .   .   .   .   .   .   .   .
 16       During this tax year, did the corporation have an 80%-or-more change in ownership, including a change due to redemption of its
          own stock?      . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 17       During or subsequent to this tax year, but before the filing of this return, did the corporation dispose of more than 65% (by value)
          of its assets in a taxable, non-taxable, or tax deferred transaction? . . . . . . . . . . . . . . . . . .
 18       Did the corporation receive assets in a section 351 transfer in which any of the transferred assets had a fair market basis or fair
          market value of more than $1 million? . . . . . . . . . . . . . . . . . . . . . . . . . . .
 19       During the corporation’s tax year, did the corporation make any payments that would require it to file Forms 1042 and 1042-S
          under chapter 3 (sections 1441 through 1464) or chapter 4 (sections 1471 through 1474) of the Code? . . . . . . . .
 20       Is the corporation operating on a cooperative basis?. . . . . . . . . . . . . . . . . . . . . . .
 21       During the tax year, did the corporation pay or accrue any interest or royalty for which the deduction is not allowed under section
          267A? See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
          If “Yes,” enter the total amount of the disallowed deductions a $
 22       Does the corporation have gross receipts of at least $500 million in any of the 3 preceding tax years? (See sections 59A(e)(2)
          and (3)) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
          If “Yes,” complete and attach Form 8991.
 23       Did the corporation have an election under section 163(j) for any real property trade or business or any farming business in effect
          during the tax year? See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . .
 24       Does the corporation satisfy one or more of the following? See instructions . . . . . . . . . . . . . . . .
    a     The corporation owns a pass-through entity with current, or prior year carryover, excess business interest expense.
    b     The corporation’s aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years preceding the
          current tax year are more than $26 million and the corporation has business interest expense.
      c   The corporation is a tax shelter and the corporation has business interest expense.
          If “Yes,” to any, complete and attach Form 8990.
 25       Is the corporation attaching Form 8996 to certify as a Qualified Opportunity Fund? . . . . . . . . . . . . . .
          If “Yes,” enter amount from Form 8996, line 14 . . . . a $
                                                                        REV 06/30/20 PRO
                                                                                                                                                   Form   1120 (2019)
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                                                                 Document     Page 35 of 48
Form 1120 (2019)                                                                                                                                                     Page 6
 Schedule L                Balance Sheets per Books                          Beginning of tax year                                         End of tax year
                                    Assets                               (a)                     (b)                                 (c)                       (d)
  1       Cash     .   .    .   .   .   .   .   .   .   .   .   .                                       12,561.                                               112,028.
  2a      Trade notes and accounts receivable .             .   .       153,416.                                                     198,425.
    b     Less allowance for bad debts . . .                .   .   (                )                153,416.           (                         )          198,425.
  3       Inventories . . . . . . . . .                     .   .                                           0.                                                      0.
  4       U.S. government obligations      . . .            .   .
  5       Tax-exempt securities (see instructions)          .   .
  6       Other current assets (attach statement)           .   .
  7       Loans to shareholders . . . . .                   .   .
  8       Mortgage and real estate loans . . .              .   .
  9       Other investments (attach statement) .            .   .
 10a      Buildings and other depreciable assets            .   .
    b     Less accumulated depreciation . . .               .   .   (                )                                   (                         )
 11a      Depletable assets . . . . . . .                   .   .
    b     Less accumulated depletion . . . .                .   .   (                )                                   (                         )
 12       Land (net of any amortization) . . .              .   .
 13a      Intangible assets (amortizable only)   .          .   .
    b     Less accumulated amortization . . .               .   .   (                )                                   (                         )
 14       Other assets (attach statement) . . .             .   .
 15       Total assets    . . . . . . . .                   .   .                                     165,977.                                                310,453.
              Liabilities and Shareholders’ Equity
 16       Accounts payable . . . . . . . . .
 17       Mortgages, notes, bonds payable in less than 1 year                                         132,469.                                                138,618.
 18       Other current liabilities (attach statement) . .
 19       Loans from shareholders . . . . . . .                                                         35,023.                                               170,260.
 20       Mortgages, notes, bonds payable in 1 year or more
 21       Other liabilities (attach statement) . . . .
 22       Capital stock:     a Preferred stock . . . .
                             b Common stock . . . .
 23       Additional paid-in capital . . . . . . .
 24       Retained earnings—Appropriated (attach statement)
 25       Retained earnings—Unappropriated . . .                                                        -1,515.                                                  1,575.
 26       Adjustments to shareholders’ equity (attach statement)
 27       Less cost of treasury stock . . . . . .                                        (                           )                                 (                  )
 28       Total liabilities and shareholders’ equity . .                     165,977.                                                                         310,453.
Schedule M-1               Reconciliation of Income (Loss) per Books With Income per Return
                           Note: The corporation may be required to file Schedule M-3. See instructions.
  1       Net income (loss) per books .         .   .   .   .   .         3,090.             7      Income recorded on books this year
  2       Federal income tax per books          .   .   .   .   .                                   not included on this return (itemize):
  3       Excess of capital losses over capital gains           .                                   Tax-exempt interest $
  4       Income subject to tax not recorded on books
          this year (itemize):
                                                                                             8     Deductions on this return not charged
  5       Expenses recorded on books this year not                                                 against book income this year (itemize):
          deducted on this return (itemize):                                                     a Depreciation . . $
      a   Depreciation . . . . $                                                                 b Charitable contributions $
      b   Charitable contributions . $
      c   Travel and entertainment . $
                                                                                             9      Add lines 7 and 8 .      .   .     .   .   .
  6       Add lines 1 through 5 .       .   .  3,090. 10 Income (page 1, line 28)—line 6 less line 9
                                                .   .   .   .   .                                                                                                3,090.
Schedule M-2 Analysis of Unappropriated Retained Earnings per Books (Line 25, Schedule L)
 1  Balance at beginning of year  . . . . .   -1,515. 5 Distributions: a Cash . . . . .
 2  Net income (loss) per books . . . . . .    3,090.                  b Stock       . . . .
  3       Other increases (itemize):                                                                             c Property .          .   .   .
                                                                                             6      Other decreases (itemize):
                                                                                             7      Add lines 5 and 6 . . . . . .
  4       Add lines 1, 2, and 3 .       .   .   .   .   .   .   .         1,575.             8      Balance at end of year (line 4 less line 7)                  1,575.
                                                                        REV 06/30/20 PRO                                                                   Form 1120 (2019)
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RAE Lifts, Inc.                                                                                      1



Additional information from your 2019 Federal Corporation Tax Return

Form 1120: US Corporation Income Tax Return
Other Income                                                                Continuation Statement
                                   Description                                         Amount
Other Income                                                                                    59,492
                                                                           Total                59,492

Form 1120: US Corporation Income Tax Return
Other Deductions                                                            Continuation Statement
                                   Description                                         Amount
Accounting                                                                                       6,350
Automobile and truck expense                                                                    41,501
Bank charges                                                                                     2,565
Cleaning                                                                                         5,190
Computer services and supplies                                                                   4,093
Dues and subscriptions                                                                           2,598
Gifts                                                                                              100
Insurance                                                                                       41,517
Legal and professional                                                                          72,488
Office expense                                                                                  13,938
Permits and fees                                                                                 3,551
Security                                                                                         1,603
Telephone                                                                                        7,839
Utilities                                                                                       11,618
Other Promotional Expense                                                                       11,167
Scavenger                                                                                        1,591
                                                                           Total               227,709

SMART WORKSHEET FOR: Form 1120: US Corporation Income Tax Return
Line 17C                                                                      Itemization Statement
                               Description                                           Amount
FICA                                                                                           17,073.
FUTA                                                                                              263.
SUTA                                                                                              307.
                                                                   Total                       17,643.
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 Fill in this information to identify the case:

                     Maple Management, LLC d/b/a RAE Elevators & Lifts and d/b/a RAE
 Debtor name         Elevators, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          February 17, 2021                       X /s/ James Mecha
                                                                       Signature of individual signing on behalf of debtor

                                                                       James Mecha
                                                                       Printed name

                                                                       Manager
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name Maple Management, LLC d/b/a RAE Elevators & Lifts and
                    d/b/a RAE Elevators, Inc.
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS                                                                                Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Greenwich Capital                                               Blanket Lien on all Disputed                       $125,578.60                  Unknown                   Unknown
 Management L.P.                                                 personal property
 108 Greenwich
 Street, 5th floor
 New York, NY 10006
 Savaria USA                                                                            Disputed                                                                          $31,270.00
 30 Main Street
 Burlington, VT
 05401
 SBA                                                             Disaster Relief                                                                                        $150,000.00
 PO Box 156089
 Fort Worth, TX
 76155
 SBA                                                             PPP Loan                                                                                                 $32,685.00
 c/o First Midwest
 Bank
 8750 W. Bryn Mawr
 Ave., Suite 1300
 Chicago, IL
 60631-3635
 Trustees of the                                                                        Disputed                                                                        $222,619.58
 National Elevator
 Industry Pension
 and Benefits Fund
 Joseph Berglund,
 1010 Jorie Blvd.
 Oak Brook, IL
 60523-2229




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                                                                  Document     Page 39 of 48
 Fill in this information to identify the case:

                      Maple Management, LLC d/b/a RAE Elevators & Lifts and d/b/a RAE
 Debtor name          Elevators, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
          No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
          Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                        Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                    Amount of claim             Value of collateral
                                                                                                                                                    that supports this
                                                                                                                        Do not deduct the value     claim
                                                                                                                        of collateral.
        Greenwich Capital
 2.1                                                                                                                           $125,578.60                  Unknown
        Management L.P.                               Describe debtor's property that is subject to a lien
        Creditor's Name                               Blanket Lien on all personal property
        108 Greenwich Street, 5th
        floor
        New York, NY 10006
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.              $125,578.60

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
         Diane M. Gipstein
         Gipstein Law PLLC                                                                                      Line   2.1
         360 Hamilton Avenue, Suite 615
         White Plains, NY 10601




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                     page 1 of 1
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                                                                  Document     Page 40 of 48
 Fill in this information to identify the case:

                     Maple Management, LLC d/b/a RAE Elevators & Lifts and d/b/a RAE
 Debtor name         Elevators, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)
                                                                                                                                                     Check if this is an
                                                                                                                                                     amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $31,270.00
           Savaria USA                                                          Contingent
           30 Main Street                                                       Unliquidated
           Burlington, VT 05401
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $150,000.00
           SBA                                                                  Contingent
           PO Box 156089                                                        Unliquidated
           Fort Worth, TX 76155                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Disaster Relief
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $32,685.00
           SBA                                                                  Contingent
           c/o First Midwest Bank                                               Unliquidated
           8750 W. Bryn Mawr Ave., Suite 1300                                   Disputed
           Chicago, IL 60631-3635
                                                                             Basis for the claim:    PPP Loan
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $222,619.58
           Trustees of the National Elevator                                    Contingent
           Industry Pension and Benefits Fund                                   Unliquidated
           c/o Joseph Berglund, 1010 Jorie Blvd.
                                                                                Disputed
           Oak Brook, IL 60523-2229
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims


Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 1 of 2
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              Maple Management, LLC d/b/a RAE Elevators & Lifts
 Debtor       and d/b/a RAE Elevators, Inc.                                                        Case number (if known)
              Name

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                               On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                  related creditor (if any) listed?                account number, if
                                                                                                                                                   any
 4.1       Joseph P. Berglund, Esq.
           Law Offices Of Joseph P. Berglund,                                                     Line     3.4
           1010 Jorie Blvd., Suite 370
                                                                                                         Not listed. Explain
           Oak Brook, IL 60523-2229


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
 5a. Total claims from Part 1                                                                        5a.         $                          0.00
 5b. Total claims from Part 2                                                                        5b.    +    $                    436,574.58

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                             5c.         $                      436,574.58




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 2 of 2
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Northern District of Illinois
             Maple Management, LLC d/b/a RAE Elevators & Lifts and d/b/a RAE
 In re       Elevators, Inc.                                                                                  Case No.
                                                               Debtor(s)                                      Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 15,000.00
             Prior to the filing of this statement I have received                                        $                 15,000.00
             Balance Due                                                                                  $                        0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                          CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     February 17, 2021                                                           /s/ Ariel Weissberg
     Date                                                                        Ariel Weissberg 03125591
                                                                                 Signature of Attorney
                                                                                 Weissberg and Associates, Ltd.
                                                                                 401 S. LaSalle St.
                                                                                 Suite 403
                                                                                 Chicago, IL 60605
                                                                                 312-663-0004 Fax: 312-663-1514
                                                                                 ariel@weissberglaw.com
                                                                                 Name of law firm




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                                                               United States Bankruptcy Court
                                                                      Northern District of Illinois
            Maple Management, LLC d/b/a RAE Elevators & Lifts and d/b/a RAE
 In re      Elevators, Inc.                                                                                           Case No.
                                                              Debtor(s)                                               Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder

 James Mecha                                                                             100% membership interest



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Manager of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date February 17, 2021                                                      Signature /s/ James Mecha
                                                                                            James Mecha

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                     Northern District of Illinois
            Maple Management, LLC d/b/a RAE Elevators & Lifts and d/b/a RAE
 In re      Elevators, Inc.                                                                            Case No.
                                                              Debtor(s)                                Chapter    11




                                                     VERIFICATION OF CREDITOR MATRIX

                                                                                       Number of Creditors:                                    5




            The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my
            (our) knowledge.




 Date:       February 17, 2021                                         /s/ James Mecha
                                                                       James Mecha/Manager
                                                                       Signer/Title




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                      Greenwich Capital Management L.P.
                      c/o Diane M. Gipstein , Esq.
                      Gipstein Law PLLC
                      360 Hamilton Avenue, Suite 615
                      White Plains, NY 10601


                      Greenwich Capital Management L.P.
                      108 Greenwich Street, 5th floor
                      New York, NY 10006

                      Trustees of the National Elevator
                      Industry Pension and Benefits Fund
                      c/o Joseph P. Berglund, Esq.
                      Law Offices Of Joseph P. Berglund
                      1010 Jorie Blvd., Suite 370
                      Oak Brook, IL 60523-2229


                      Savaria USA
                      30 Main Street
                      Burlington, VT 05401


                      SBA
                      PO Box 156089
                      Fort Worth, TX 76155


                      SBA
                      c/o First Midwest Bank
                      8750 W. Bryn Mawr Ave., Suite 1300
                      Chicago, IL 60631-3635
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                                                               United States Bankruptcy Court
                                                                     Northern District of Illinois
            Maple Management, LLC d/b/a RAE Elevators & Lifts and d/b/a RAE
 In re      Elevators, Inc.                                                                                Case No.
                                                              Debtor(s)                                    Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Maple Management, LLC d/b/a RAE Elevators & Lifts and d/b/a RAE Elevators, Inc. in
the above captioned action, certifies that the following is a (are) corporation(s), other than the debtor or a governmental
unit, that directly or indirectly own(s) 10% or more of any class of the corporation's(s') equity interests, or states that there
are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 February 17, 2021                                                   /s/ Ariel Weissberg
 Date                                                                Ariel Weissberg 03125591
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Maple Management, LLC d/b/a RAE Elevators & Lifts and
                                                                                    d/b/a RAE Elevators, Inc.
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